               Case 8:20-bk-11507-ES                           Doc 549-1               Filed 09/17/21                Entered 09/17/21 12:40:39                Desc
                                                          UNITED STATES DEPARTMENT OF JUSTICE
                                                           Supporting Documentation Page 1 of 8
                                                          OFFICE OF THE UNITED STATES TRUSTEE
                                                             CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                                             CHAPTER 11 (BUSINESS)
    HCA West, Inc.
    et al.                                                                                                         Case Number:             8:20-bk-11507
                                                                                                                   Operating Report Number:                   14
                                                                                              Debtor(s).           For the Month Ending:               7/31/2021

                                                            I. CASH RECEIPTS AND DISBURSEMENTS
                                                                   A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                                       10,882,936.34

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                             5,884,462.96
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                    N1    4,998,473.38

4. RECEIPTS DURING CURRENT PERIOD:
    Accounts Receivable - Post-filing
    Accounts Receivable - Pre-filing
    General Sales
    Other (Specify)       Interest Income                                                                                                        4.16
    Other (Specify)       Cash Transfer from PayPal Account                                                                                 13,761.52
                          Restricted Cash keep in Hytera East account                                                                      263,716.40

       TOTAL RECEIPTS THIS PERIOD:                                                                                                                              277,482.08

5. BALANCE:                                                                                                                                                    5,275,955.46

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
    Transfers to Other DIP Accounts (from page 2)                                                                                          214,396.62
    Disbursements (from page 2)                                                                                                            151,637.81

       TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                                      366,034.43

7. ENDING BALANCE:                                                                                                                                             4,909,921.03

                                                                                                                   CNB #3004, #5249, #7300, #7319, PayPal, Cash
8.     General Account Number(s):                                                                                  Sale of Assets

       Depository Name & Location:

N1 The beginning balance included in Part 1 of the MOR excludes all transfers between DIP accounts.
                                                                Ending Balance as of 06/30/21                                               5,262,189.78
                                           Intercompany Expenses reimbursement to Hytera East                                                (200,635.10)
                                                       Adjust Beginning Balance as of 07/01/21                                              5,061,554.68

* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
       to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.
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                                   IX. PROFIT AND LOSS STATEMENT
                                                                                                                                Desc
                                          (ACCRUAL BASISDocumentation
                                          Supporting    ONLY)         Page 2 of 8
                                                                                  Current Month      Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                                   2,221.20              8,045,267.21
   Less: Returns/Discounts                                                               2,473.47                 50,993.56
                                                             Net Sales/Revenue            (252.27)             7,994,273.65

Cost of Goods Sold:
  Beginning Inventory at cost                                                                0.00              2,434,703.71
  Other - Cost of Assets Sold                                                                0.00              1,669,647.73
  Purchases                                                                                  0.00              4,143,786.54
  Less: Ending Inventory at cost                                                             0.00                      0.00
                                                      Cost of Goods Sold (COGS)              0.00              8,248,137.98

Gross Profit                                                                              (252.27)              (253,864.33)

    Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                         0.00                109,531.44
  Payroll - Other Employees                                                                                      743,857.69
  Payroll Taxes                                                                                                   57,865.25
  Other Taxes (Itemize)                                                                                              303.00
  Depreciation and Amortization                                                                                   74,866.32
  Rent Expense - Real Property                                                                                   153,059.96
  Lease Expense - Personal Property                                                                                    0.00
  Insurance                                                                                  0.00                251,985.56
  Real Property Taxes                                                                                                  0.00
  Telephone and Utilities                                                                                         20,221.29
  Repairs and Maintenance                                                                                          4,235.08
  Travel and Entertainment (Itemize)                                                                               6,167.31
  Miscellaneous Operating Expenses (Itemize)                                              359.77                 339,455.56
                                   Total Operating Expenses                               359.77               1,761,548.46
                                              Net Gain/(Loss) from Operations             (612.04)             (2,015,412.79)

Non-Operating Income:
  Interest Income                                                                            4.16                    160.34
  Net Gain on Sale of Assets (Itemize)                                                       0.00                      0.00
  Other (Itemize)
                                 Total Non-Operating income                                  4.16                    160.34

Non-Operating Expenses:
  Interest Expense
  Legal and Professional (Itemize)                                                    151,278.04               2,123,412.96
  Other (Itemize)
                               Total Non-Operating Expenses                           151,278.04               2,123,412.96

NET INCOME/(LOSS)                                                                     (151,885.92)             (4,138,665.41)



(Attach exhibit listing all itemizations required above)
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                                           X. BALANCE
                                      Supporting       SHEET Page 3 of 8
                                                 Documentation
                                            (ACCRUAL BASIS ONLY)

ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                   4,859,206.69
  Restricted Cash                                                        50,714.34
  Accounts Receivable                                                 6,962,731.19     Part 2: a New form
  Inventory
  Notes Receivable
  Prepaid Expenses                                                      131,108.08
  Other (Itemize)                                                       237,104.73
                                        Total Current Assets                                     12,240,865.03

Property, Plant, and Equipment                                                 0.00
Accumulated Depreciation/Depletion                                             0.00
                        Net Property, Plant, and Equipment                                                  0.00

Other Assets (Net of Amortization):
  Due from Insiders
  Other (Itemize)                                                        11,720.00
                                          Total Other Assets                                         11,720.00
TOTAL ASSETS                                                                                     12,252,585.03

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                    1,171,639.73
  Taxes Payable
  Notes Payable
  Professional fees
  Secured Debt
  Other (Itemize)                                                        18,576.30
                             Total Post-petition Liabilities                                      1,190,216.03

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities
   Unsecured Liabilities                                             20,082,183.88
   Other (Itemize)
                                Total Pre-petition Liabilities                                   20,082,183.88

TOTAL LIABILITIES                                                                                21,272,399.91

EQUITY:
  Pre-petition Owners’ Equity                                         (5,021,144.90)
  Post-petition Profit/(Loss)                                         (4,138,665.41)
  Direct Charges to Equity                                               139,995.43
TOTAL EQUITY                                                                                     (9,019,814.88)
TOTAL LIABILITIES & EQUITY                                                                       12,252,585.03
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          IV. AGING OF ACCOUNTS PAYABLE AND RECEIVABLE
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                                     *Accounts Payable        Accounts Receivable
                                       Post-Petition     Pre-Petition     Post-Petition
                   30 days or less                0.00                               0.00
                     31 - 60 days                 0.00                               0.00
                     61 - 90 days                 0.00                               0.00
                    91 - 120 days                 0.00                               0.00
                  Over 120 days 1        1,171,639.73     5,805,703.61     1,157,027.58
                         TOTAL:          1,171,639.73     5,805,703.61     1,157,027.58

      1
       $1,151,367 of the A/P amount is intercompany A/P. $944,725 of the A/R amount is
      intercompany A/R.
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      CITYNATIONALBANK
       I .AN RBC COMPANY
                                                                        \:lt .
                                                                     Supporting Documentation Page 5 of 8
                                                                                                               Page 1            (2)

                                                                                                               Account#:~004


                                   This statement: August 31, 2021                                             Contact us:
                                   Last statement: July 30, 2021                                               800-77 3-7100

                                                                                                               South Orange CO. Office
                                                                                                               20 Pacifica
                                   260                                                    0830K                Irvine, CA 92618
                                   HYTERA COMMUNICATIONS AMERICA (WEsn INC
                                   DIP CASE NO. 8 :20-BK-11507-ES                                              cnb.com
                                   514 VIA DE LA VALLE SUITE 210
                                   SOLANA BEACH CA 9207 5




Checking Account
  Account Summ
  Account number                                             lllllllllrocM rnMiininfru111>iiiaiicemrnr.m11- - - - - - - -s14r:1,s>"ii4i66li,8i992.2.s=r
                                                                                                                                                    81
  Minimum balance                                           $4,411,469.97
  Average balance                                           $4,503,367 .49       Credits Deposits     (1)                      + 6,321 .49
  Avg. collected balance                                    $4,503,169.00               Electronic er (0)                          + 0 .00
                                                                                        Other credits (1)                      + 6,039.67
                                                                                        Total credits                                             + $12, 361 .16

                                                                                 Debits Checks paid (2)                       - 12,079.34
                                                                                        Electronic db (2)                   - 129,647 .99
                                                                                        Other debits (2)                           - 17 .00
                                                                                        Total debits                                             - $141 ,744.33

                                                                                 Ending balance (8/31/2021)                                      $4,417, 509.64

DEPOSITS
Date   Description                                                                                                       Reference                       Credits
8-11              E-Deposit                                                                                              00000001                     6,321.49

OTHER CRB>ITS
Date   Description                                                                                                       Reference                       Credits
8 -31            Account Transfer Cr. FR                    Acc11111111to12 HYTERA COMMUNICATIONS AM                                                  6,039.67

CHECKS PAID
,......c.cN=um~berC....C..C...----'D~at=e"--~~~A~m~o~u=m    Number    Date           Amount    Number   Date         Amount     Number    Date          Amount
I 104               8-4                3,188.14            I 105      8-4         8 ,891 .20

B.ECTRONIC DEBITS
Date   Description                                                                                                                                        Debits
8-6               Bsuite Wire Out-Dom                                                                                                                 8,657.99
8 -24             Bsuite Book Trans-Db                                                                                                              120,990.00

OTHER DEBITS
Date   Description                                                                                                       Reference                        Debits
8-6              Service Charge BSUITE WIRE OUT-OM                                                                                                       12.00
8-24             Service Charge BSUITE BOOK XFR-DB                                                                                                        5.00
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   CITYNATIONALBANK
   I .AN RBC COMPANY
                                              \:lt .
                                           Supporting Documentation Page 6 of 8




                   HYTERA COMMUNICATIONS AMERICA (WESn INC Page 2
                   August 31 , 2021                        Account #: - 0 0 4




DAILY BALANCES
Date                   Amount Date                     Amount Date                 Amount Date
                                                                                             ~ - - - - - - -Amount
                                                                                                             --
 7-30           4,546,892.81       8-6           4,526.143.48    8-24        4,411.469.97
 8 -4           4,534,813 .47      8 -11         4,532.464 .97   8 -31       4,417,509.64


OVERDRAFT/RETURN ITBJI FEES
                                                          Total for              Total
                                                         this p«lod           year-to-date

        Total Overdraft Fees                                  $0.00                  $0.00

        Total Returned Item Fees                              $0.00                  $0.00




                                       Thank you for banking with South Orange CO. Office
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                                                                                      Account #:            7300


                       This statement: August 31, 2021                                Contact us:
                       Last statement: July 30, 2021                                  800-773-7100

                                                                                      South Orange CO. Office
                                                                                      20 Pacifica
                       260                                         0830N              Irvine, CA 92618
                       HYTERA COMMUNICATIONS AMERICA (WEST) INC
                       DIPCASE NO. 8:20-BK-11507-ES                                   cnb.com
                       514 VIA DE LA VALLE SUITE 210
                       SOLANA BEACH CA 92075




Business Checking
 Account Summary                                        Account Activity
 Account number                                  7300   Beginning balance (7/30/2021)                               $14,718.59
 Minimum balance                           $14,518.59
 Average balance                           $14,624.84   Credits                                         + $0.00
 Avg. collected balance                    $14,624.00
                                                        Debits    Checks paid (0)                          - 0.00
                                                                  Electronic db (0)                        - 0.00
                                                                  Other debits (8)                      - 200.00
                                                                  Total debits                                       - $200.00

                                                        Ending balance (8/31/2021)                                  $14,518.59

OTHER DEBITS
Date     Description                                                                            Reference                Debits
8-17     Service   Charge     ACH FILTER AUTHORI ZATIONS FOR 07/21                                                       2.00
8-17     Service   Charge     ACH FILTER FRAUD S USPECTS FOR 07/21                                                       3.00
8-17     Service   Charge     ACH FRAUD PROTECTI ON SERVICE MAINT FOR 07/21                                             10.00
8-17     Service   Charge     TNET FOR BB ESSENT IAL ADD'L ACCTS FOR 07/21                                              25.00
8-17     Service   Charge     TNET FOR BB ESSENT IAL ACH MAINT FOR 07/21                                                30.00
8-17     Service   Charge     TNET FOR BB ESSENT IAL WIRE MAINT FOR 07/21                                               30.00
8-17     Service   Charge     TNET FOR BB ESSENT IAL ADD'L USERS FOR 07/21                                              50.00
8-17     Service   Charge     ELECTRONIC DEP MAI NTENANCE WEB FOR 07/21                                                 50.00

DAILY BALANCES
Date                         Amount Date                    Amount Date                     Amount Date                 Amount
 7-30                  14,718.59     8-17               14,518.59




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   CITYNATIONALBANK
   I .AN RBC COMPANY
                                         \:lt .
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                                                                               Account # : - 3 1 9


                   This statement: August 31, 2021                             Contact us:
                   Last statement: July 30, 2021                               800-77 3-7100

                                                                               South Orange CO. Office
                                                                               20 Pacifica
                   260                                      0830N              Irvine, CA 92618
                   HYTERA COMMUNICATIONS AMERICA (WEsn INC
                   DIP CASE NO. 8 :20-BK-11507-ES                              cnb.com
                   (DAILY EXPENSE ACCOUNT)
                   514 VIA DE LA VALLE SUITE 210
                   SOLANA BEACH CA 9207 5




Business Checking Account
 Account Summ
 Account number                                                                                            47,380 .00
 Minimum balance
 Average balance                                  Credits                                       + $0.00
 Avg. collected balance
                                                  Debits                                        - $0.00

                                                  Ending balance (8/31/2021)                              $47,380.00

                                       * * No activity this statement period * *




                                  Thank you for banking with South Orange CO. Office
